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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                        Before the Honorable John F. Robbenhaar
                                               Preliminary/Detention Hearing
Case Number:                23-MJ-945 KK                          UNITED STATES vs. Wiese
Hearing Date:               6/6/2023                              Time In and Out:          9:51 a.m./10:17 a.m.
Courtroom Deputy:           K. Hernandez de Sepulveda             Courtroom:                Rio Grande
Defendant:                  Andrew Wiese                          Defendant’s Counsel:      Irma Rivas
AUSA:                       Raquel Ruiz-Velez                     Pretrial/Probation:       M. Pirkovic
                                                                                            Alley Viramontes, Special Agent
Interpreter:                N/A                                   Witness:
                                                                                            FBI
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                               @
Preliminary/Show Cause/Identity
☐     Defendant
☒     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives right to contest detention
☒     USA-proffers; FPD-proffers; Court-findings
Custody Status
☐     Defendant
☒     Conditions of release imposed
Other
☐     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☐
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
      Government calls FBI Special Agent Alley Viramontes, sworn, direct; cross; redirect; witness excused; closing
☒
      arguments; court findings.
